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     6   REKO HOLDINGS, LLC.
     7

     8                     UNITED STATES DISTRICT COURT
     9       CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
    10

    11   REKO HOLDINGS, LLC,                   )
                                               ) CASE NO.: 2:18-cv-07401-GW-FFM
    12                 Plaintiff,              )
    13         v.                              ) [Assigned to the Hon. George H. Wu,
                                               ) Courtroom 9D]
    14   AMP GROUP HOLDINGS, INC., a )
    15
         Delaware corporation; PAUL            ) OPPOSITION TO APPLICATION TO
         KOZLOV; GSS GROUP LLC, a              ) CONTINUE HEARING ON MOTION
    16   California limited liability company; ) FOR DEFAULT JUDGMENT AGAINST
    17
         SAPA GROUP, LLC, a California         ) DEFENDANTS GALINA VAYNTER;
         limited liability company; GARY       ) VADIM VAYNTER AKA AVADY
    18   SHIRINYAN; IIEVGENIA SAPA ) VAYNTER; GV GLOBAL
         aka EVGENIA SAPA aka                  ) COMMUNICATIONS, INC.; DIRECT
    19
         LEVGENIA SAPA; VLADIMIR               ) COMMUNICATIONS, INC.;
    20   HANIN, HJK TRADE, INC., a             ) DECLARATION OF ROBERT M.
         California corporation; HOVIK         ) YASPAN
    21
         KOSTANDYAN; CITIBANK, N.A.; )
    22   JPMORGAN CHASE BANK, N.A.; )
         WELLS FARGO BANK, N.A.;               ) Hearing Date: June 3, 2019
    23
         GALINA VAYNTER; VADIM                 ) Hearing Time: 8:30 a.m.
    24   VAYNTER aka AVADY                     ) Place:           Courtroom 9D
         VAYNTER; GV GLOBAL                    ) Judge:      Hon. George H. Wu
    25
         COMMUNICATIONS, INC., a               )
    26   California corporation; DIRECT        )
         COMMUNICATIONS, INC., a               )
    27
         California corporation; REGINA        )
    28
                                              1
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     1   KATS; ARTHUR KATS; LEGACY )
     2   RESOURCES GROUP, INC., an        )
         unknown business entity; YITZHAK )
     3   KLEYMAN, and DOES 1 - 100,       )
     4
         inclusive,                       )
                    Defendants.           )
     5                                    )
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                                          )
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     6
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     1   TABLE OF AUTHORITIES
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    13
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     1         Plaintiff Reko Holdings, LLC (“Plaintiff”) submits its Opposition to the
     2
         (“Opposition”) to the Ex Parte Application to Continue Hearing On Motion for
     3

     4
         Default Judgment against Defendants Galina Vaynter, Vadim Vaynter aka Avady

     5   Vaynter, Direct Communications Inc. (“Application”) or the Underlying Motion to
     6
         Set Aside Default (“Default Motion”) filed by Galina Vaynter (“GALINA”),
     7
         Vadim Vaynter aka Avady Vaynter (“VADIM”), Direct Communications, Inc.
     8

     9   (“DCI”), or any other alleged party (collectively “Defaulted Parties”) as follows:
    10
                                    INTRODUCTION
    11
               The Application and Default Motion are based upon the same flawed
    12

    13   theories of facts and law. First, it is not clear as to whom is bringing the
    14
         Application or the Default Motion. Second, the Defaulted Parties did not comply
    15
         with all required Local Civil Rules. Third, these Motions are not timely and there
    16

    17   is no legitimate reason that the Defaulted Parties did not timely respond. Finally,
    18   the Default Motion requires a meritorious defense with an answer, and none of
    19
         that is included in the Application and the Default Motion.
    20

    21         Thus, the Motions should be denied.
    22           I.     IT IS UNCLEAR WHO ARE BRINGING THE MOTIONS
    23
               It is unclear exactly who is making which motion, and who counsel is
    24

    25   representing in connection with the filings on May 3, 2019. In document 105,
    26   entitled as “Notice of Motion and Motion to Set aside Default Against Defendants
    27
         Galina Vaynter, Vadim Vayner aka Avady Vaynter and Direct Communications,
    28
                                                   3
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     1   etc.”. From this document, it appears that there are three moving parties.
     2
                  In Document 107 and 108 the attorneys seek to continue the default
     3

     4
         judgment hearing not only against GALINA, VADIM and DCI, but also as against

     5   four other defendants without any explanation therefor: Arthur Kats
     6
         (“ARTHUR”), Regina Kats (“REGINA”), Legacy Resources Group, Inc.
     7
         (“LEGACY”) and GV Global Communications, Inc. (“GV”). As the attorneys do
     8

     9   not claim to represent those extra four parties, it is clear that the Court should deny
    10
         the Ex Parte Application and Motion for that reason alone.
    11
            II.      DEFAULTED DEFENDANTS DID NOT COMPLY WITH LOCAL
    12

    13                           RULES INCLUDING MEET AND CONFER
    14
                  Local Civil Rule 7-3 requires a conference of counsel prior to filing of
    15
         motions. As stated in the Local Rule, if the parties are unable to reach a resolution
    16

    17   which eliminates the necessity for a hearing, counsel for the moving party shall
    18   include in the notice of motion a statement to the following effect: “This motion is
    19
         made following the conference of counsel pursuant to L.R. 7-3 which took place
    20

    21   on (date)”. None of the declarations filed by counsel for the Application or the
    22   Default Motion claim that there was any attempt to have a conference of counsel as
    23
         required.
    24

    25            Furthermore, on an ex parte application, pursuant to Local Civil Rule 7-19,
    26   an application shall be accompanied by a memorandum containing, if known, the
    27
         name, address, telephone number and e-mail address of counsel for the opposing
    28
                                                    4
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     1   party, the reasons for the seeking of an ex parte order, and points and authorities in
     2
         support thereof. An applicant also shall lodge the proposed ex parte order. There
     3

     4
         was no compliance with this local rule.

     5         Finally, the Defaulted Parties did not comply with Local Civil Rule 7.19.1
     6
         which is a duty of the attorney applying for an ex parte application (a) to make
     7
         reasonable, good faith efforts orally to advise counsel for all other parties, if
     8

     9   known, of the date and substance of the proposed ex parte application and (b) to
    10
         advise the Court in writing and under oath of efforts to contact other counsel and
    11
         whether any other counsel, after such advice, opposes the application.
    12

    13         As these basic local rules were not complied with and there was no
    14
         explanation for the non-compliance, the Application and the Default Motion
    15
         should simply be denied.
    16

    17               III.   THE DEFAULT MOTION DOES NOT MEET THE
    18                           REQUIREMENTS OF FED. R. CIV. P 55(c)
    19
               The Federal Rules provide that a “court may set aside an entry of default for
    20

    21   good cause....” Fed. R. Civ. Pro. 55(c). To determine “good cause”, a court must
    22   “consider[ ] three factors: (1) whether [the party seeking to set aside the default]
    23
         engaged in culpable conduct that led to the default; (2) whether [it] had [no]
    24

    25   meritorious defense; or (3) whether reopening the default judgment would
    26   prejudice” the other party. See, Franchise Holding II v. Huntington Rests. Group,
    27
         Inc., 375 F.3d 922, 925–26 (9th Cir. 2004). The “good cause” standard that
    28
                                                    5
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     1   governs vacating an entry of default under Rule 55(c) is the same standard that
     2
         governs vacating a default judgment under Rule 60(b), is disjunctive, such that a
     3

     4
         finding that if any one of these factors is true it is sufficient reason for the district

     5   court to refuse to set aside the default. Id.
     6
                Defaulted Parties have failed in its Application and its Default Motion to
     7
         provide evidence that supports its contentions and they bear the burden to do so.
     8

     9   Id at 256.
    10
                A.     The Defaulted Parties are Culpable
    11
                This is not a case of a rush to a Judgment on the part of the Plaintiff.
    12

    13   GALINA was served with process on December 1, 2018 (Doc 64) as were also
    14
         AVADY (Doc 65) and DCI (Doc 66). The Defaults were taken against these three
    15
         defendants on January 16, 2019 (Doc 87) on request of counsel filed on January
    16

    17   15, 2019 (Doc 82, 83, and 86). The Motion for Default Judgment was filed on
    18   February 25, 2019 (Doc 96) and originally set for hearing on March 4, 2019. On
    19
         February 26, 2019, the Court continued the hearing of March 4, 2019 to April 25,
    20

    21   2019. On April 19, 2019, the Court continued the hearing of April 25, 2019 to
    22   May 6, 2019. On May 2, 2019, the Court took the hearing off calendar as
    23
         submitted. (Declaration of Robert Yaspan [“Yaspan Dec.”], paragraph 3).
    24

    25          Notices of all of these filings and continuances were available to GALINA,
    26   AVADY and DCI, and many of the documents were actually served. GALINA,
    27
         AVADY and DCI have therefore known about this proceeding since at least
    28
                                                     6
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     1   December 1, 2018 – at least five months ago. And they have known about the
     2
         entry of the defaults for over 3 ½ months. The attorney admits that he was first
     3

     4
         approached by GALINA, VADIM and DCI in late February 2019 and that the

     5   Defaulted Parties had admitted to him that they had discussions with other
     6
         attorneys (Declaration of Thomas Eastmond (Docket 105) (“Eastmond Dec.”,
     7
         paragraph 2). GALINA does not make such statements, but only states she was
     8

     9   unable to “retain counsel” -- not that she went to contact counsel. In fact, in the
    10
         motions for the defaults and related documents, Yaspan has already testified that
    11
         no one contacted him at all with respect to this case – not even potential counsel.
    12

    13   (Doc 102-1.) (Yaspan Dec., paragraph 2).
    14
               The attorney for GALINA, AVADY and DCI was not hired until April 19,
    15
         2019 – six days before the continued hearing date of April 25, 2019. (Eastmond
    16

    17   Dec., paragraph 3). This shows that Defaulted Parties intentionally waited until
    18   the last minute to hire their attorney. On May 2, 2019, the motion for default
    19
         judgment was taken under submission.
    20

    21         If a defendant “has received actual or constructive notice of the filing of the
    22   action and failed to answer,” its conduct is culpable. Id at 926. Thus, this Court
    23
         can deny on such grounds.
    24

    25         Notably, the Defaulted Parties’ contention that there was a purported
    26   coordinated attack on them is simply false. Robert Yaspan (“Yaspan”) became
    27
         the manager of Plaintiff in January 2018. The Second Amended Complaint
    28
                                                   7
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      1   (“SAC”) was only filed on August 17, 2018, after numerous attempts to obtain
      2
          originals (or even copies) of Plaintiff’s documents from REGINA, Plaintiff’s
      3

      4
          former Manager, proved unavailing. GALINA, AVADY and DCI were not

      5   served until December 1, 2018 after evading service for months. Prior to that
      6
          time, on October 2, 2018 through multiple emails, REGINA had acknowledged
      7
          receipt of the Summons and Complaint. (Yaspan Dec., paragraph 4). It is not
      8

      9   believable that REGINA would be served and not mention to her parents that the
     10
          SAC was served on her. This was never a surprise.
     11
                In addition, the argument regarding the attorneys’ fees is unavailing. The
     12

     13   Defaulted Parties discuss Pecarsky v. Galaxiworld.com, Ltd., 249 F.3d 167, 173
     14
          (2d Cir. 2001) to support their contention that the Defaulted Parties could not
     15
          afford attorneys’ fees. Defaulted Parties’ inability to hire counsel does not serve
     16

     17   as an excuse for default. The evidence provided by GALINA, on behalf of her
     18   and VADIM, does not support that they could not afford an attorney. The only
     19
          alleged details provided is that they are without resources (GALINA DEC.,
     20

     21   paragraph 7). However, this entire lawsuit involves the Defaulted Parties’ theft of
     22   millions of shares of Plaintiff’s assets and forgery of documents, and the fact that
     23
          they cannot convert Plaintiff’s assets any more is not a ground to set aside a
     24

     25   default. Plaintiff has already submitted evidence that none of the Defendants
     26   (including Defaulted Parties) have ever had any ownership interest in the Plaintiff
     27
          (Request for Judicial Notice, Exhibit 1, paragraph 5). REGINA had promised that
     28
                                                    8
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      1   she would provide documents to Plaintiff’s counsel (who is also the new
      2
          manager), but has breached her fiduciary duties and has never done so. (Yaspan
      3

      4
          Dec., paragraph 5).

      5         Additionally, merely stating without more that Defendant is living in a
      6
          house with relatives also does not set forth sufficient facts to show financial
      7
          hardship (Id). Rather, at the time of service at a restaurant, GALINA and VADIM
      8

      9   were driving around in an expensive Range Rover automobile vehicle that was
     10
          valued in excess of $96,000 (Declaration of Luis Montaro, paragraphs 3 and 4),
     11
          and they somehow do not mention that fact.
     12

     13         The declarations are not competent evidence as to the Defaulted Parties’
     14
          true financial condition, let alone any “financial statement”, and merely recites the
     15
          formulaic conclusion that they were “deprived … of the financial wherewithal to
     16

     17   defendant against [the SAC]” and that they were “initially unable to retain counsel
     18   to appear and defend this case due to lack of funds.” (GALINA Dec., paragraph
     19
          9). The Defaulted Parties did not say that they did not have any income or
     20

     21   savings. As discussed above, it was a strategic choice to pay the attorney at this
     22   late date. Moreover, unlike the corporate defendant whose default was at issue
     23
          in Pecarsky, GALINA and VADIM are individuals and could have appeared pro
     24

     25   se at any time to answer the complaint, or to seek an extension of time, or merely,
     26   as in Pecarsky, to keep in touch with the Court on their own behalf and on behalf
     27
          of their corporations while any difficulties in retaining counsel were worked out.
     28
                                                    9
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      1         Defaulted Parties thus made a strategic decision to ignore the instant case in
      2
          deference to other matters, and then, less than a week before the Motion was to be
      3

      4
          held, finally retained counsel, and sought to defend this case. Such gamesmanship

      5   is not “negligence,” or even “gross negligence.” – it was a willful action and the
      6
          default should not be set aside.
      7
                B.    Meritorious Defense
      8

      9         To justify vacating the default judgment, however, Defaulted Parties have
     10
          to present the district court with specific facts that would constitute a defense.
     11
          Defaulted Parties have not done this. Rather they merely refer the Court to an
     12

     13   unattached Complaint to its Judicial Notice and expect the Court to read it and see
     14
          their version of Plaintiff’s claims. GALINA even states that she believes
     15
          REGINA’s account to be true (GALINA Dec., paragraph 6, lines 15-17).
     16

     17   However, REGINA claims the police report is attached as Exhibit 8 to the original
     18   State Court Complaint, and that the LAPD got it wrong. However, the only
     19
          evidence is that REGINA filed the report online on September 26, 2019. The
     20

     21   second page of the report says that the report was not approved and was “pending
     22   approval”. The report does not have a case number or the name of a police officer
     23
          that took the police report (See, Exhibit 8 to the Request for Judicial Notice).
     24

     25   REGINA has not provided any documentation to show a case number or that the
     26   report was even accepted. This just supports that the Defaulted Parties continue to
     27
          publish this false story, even under penalty of perjury.
     28
                                                    10
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      1          Additionally, the Trustee of the sole member of Plaintiff has already
      2
          testified as the trustee for the beneficiaries that none of these defendants ever
      3

      4
          owned any part of Plaintiff (Request for Judicial Notice, Exhibit A, paragraph 5).

      5          Moreover, there is not one allegation in the papers filed regarding the
      6
          1,000,000 Sapa Gopher shares in the motion. Those allegations must therefore be
      7
          taken as admitted.
      8

      9          A “mere general denial without facts to support it” is not enough to justify
     10
          vacating a default or default judgment.    Franchise Holding II, supra at 926.
     11
                 C.    Excusable Neglect
     12

     13          Excusable neglect is an equitable concept that takes account of factors such
     14
          as “prejudice, the length of the delay and impact on judicial proceedings, the
     15
          reason for the delay, including whether it was within the reasonable control of the
     16

     17   movant, and whether the movant acted in good faith.” This argument, therefore,
     18   largely overlaps with the issue of culpability. Franchise Holding II, LLC, supra at
     19
          927.
     20

     21          In this case, the retention of an attorney less than a week for the hearing was
     22   a strategic decision by Defaulted Parties. In fact, their own counsel admitted that
     23
          they originally came to see him in late February 2019 (which coincidentally was
     24

     25   around the time that the default motion was brought). Since October 2018 when
     26   REGINA first contacted Plaintiff’s counsel about the SAC, Defaulted Parties did
     27
          not contact Plaintiff’s counsel, did not appear in pro per, and did not bring any
     28
                                                    11
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      1   motion for approximately five (5) months. (Yaspan Dec., paragraph 6). As
      2
          discussed above, Defaulted Parties’ excuse that they did not have the funds did not
      3

      4
          prevent the individuals from appearing in pro per or taking some other action with

      5   the Court. Also, GALINA has an expensive vehicle registered to her and claims
      6
          that she cannot afford payments to an attorney when she is paying very expensive
      7
          payments for the car. Without a financial statement regarding the true financial
      8

      9   picture, the Defaulted Parties have not proven their case that they were “too
     10
          broke” to defend on an in pro per basis.
     11
                The Defaulted Parties have therefore not timely brought a sufficient motion
     12

     13   to set aside the defaults.
     14
                D.     Plaintiff is Prejudiced
     15
                Plaintiff will suffer prejudice by the setting aside of the default. The filing
     16

     17   of the motion did not include an attached proposed answer – two weeks after the
     18   attorney was admittedly retained. This is just indicative that the Defaulted Parties
     19
          do not have any valid defenses. It would prejudice Plaintiff to have this default set
     20

     21   aside on nothing but innuendo and references and force Plaintiff to incur
     22   thousands of dollars on attorneys’ fees without Defaulted Parties following the
     23
          correct procedure. In the meantime, Plaintiff has incurred in excess of $15,000 in
     24

     25   preparation of the defaults and motion and opposing this motion. If the Court has
     26   any inclination to set aside the default, paying Plaintiff for its fees incurred should
     27

     28
                                                     12
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      1   awarded as a condition of any set aside under these circumstances. (Yaspan Dec.,
      2
          paragraph 7).
      3

      4
                                         III.   CONCLUSION

      5         Based upon the above, Defaulted Parties’ Application and Default Motion
      6
          should be denied in their entirety. If the Court is inclined to set aside the defaults
      7
          with these procedurally defective motions, Plaintiff should be awarded the sum of
      8

      9   $15,000 as a condition of any setting aside of the defaults.
     10
                Plaintiff also reserves the right to supplement this Opposition.
     11
          DATED: May 7, 2019               LAW OFFICES OF ROBERT M. YASPAN
     12

     13
                                           By /s/ Robert M. Yaspan
     14
                                              ROBERT M. YASPAN
     15                                       Attorneys for Plaintiff Reko Holdings, LLC
     16

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                                                    13
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      1                         DECLARATION OF ROBERT M. YASPAN
      2
                I, ROBERT M. YASPAN, hereby declare under penalty of perjury as
      3

      4
          follows:

      5         1.     I am an attorney duly authorized to practice law before the courts of
      6
          the State of California. I am also qualified to practice before the Ninth Circuit
      7
          Court of Appeals, the United States District Court for the Central District of
      8

      9   California, and United States District Court for the Eastern District of California,
     10
          among others. I am one of the attorneys for Plaintiff REKO Holdings, LLC
     11
          (“Plaintiff” or “REKO”) and the manager since on or about January 24, 2018 of
     12

     13   REKO. I have personal knowledge of the facts stated herein and if called as a
     14
          witness I could, and would, competently testify hereto.
     15
                2.     I never received any telephone call from the attorneys of Galina
     16

     17   Vaynter (“GALINA”), Avady Vaynter aka Vadim Vaynter (“AVADY”) and
     18   Direct Communications, Inc. (“DCI”) (collectively “Defaulted Parties”) regarding
     19
          meeting and conferring relating to the Ex Parte Application to Continue Hearing
     20

     21   On Motion for Default Judgment against Defendants Galina Vaynter, Vadim
     22   Vaynter aka Avady Vaynter, Direct Communications Inc. (“Application”) or the
     23
          Underlying Motion to Set Aside Default (“Default Motion”).
     24

     25         3.     GALINA was served with process on December 1, 2018 (Doc 64) as
     26   were also AVADY (Doc 65) and DCI (Doc 66). The Defaults were taken against
     27
          these three defendants on January 16, 2019 (Doc 87) on request of counsel filed
     28
                                                    14
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      1   on January 15, 2019 (Doc 82, 83, and 86). The Motion for Default Judgment was
      2
          filed on February 25, 2019 (Doc 96) and originally set for hearing on March 4,
      3

      4
          2019. On February 26, 2019, the Court continued the hearing of March 4, 2019 to

      5   April 25, 2019. On April 19, 2019, the Court continued the hearing of April 25,
      6
          2019 to May 6, 2019. On May 2, 2019, the Court took the hearing off calendar as
      7
          submitted.
      8

      9         4.     I became the Manager of Reko on or about January 24, 2018. The
     10
          Second Amended Complaint (“SAC”) was only filed on August 17, 2018, after
     11

     12
          numerous attempts to obtain originals (or even copies) of Plaintiff’s documents

     13   from REGINA, Plaintiff’s former Manager, proved unavailing. GALINA,
     14
          AVADY and DCI were not served until December 1, 2018 after evading service
     15
          for months. Prior to that time, on October 2, 2018 through multiple emails,
     16

     17   REGINA had acknowledged receipt of the Summons and Complaint.
     18
                5.     REGINA had promised that she would provide documents to me (and
     19
          I was also the new manager and attorney), but has breached her fiduciary duties
     20

     21   and has never done so.
     22
                6.     Since October 2018 when REGINA first contacted Plaintiff’s counsel
     23
          about the SAC, Defaulted Parties did not contact Plaintiff’s counsel, did not
     24

     25   appear in pro per, and did not bring any motion for approximately five (5) months.
     26
                7.     Plaintiff will suffer prejudice by the setting aside of the default. It
     27
          would prejudice Plaintiff to have this default set aside on nothing but innuendo
     28
                                                    15
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      1   and references and force Plaintiff to incur thousands of dollars on attorneys’ fees
      2
          without Defaulted Parties following the correct procedure – especially since the
      3

      4
          Defaulted Parties did not attach a proposed answer or provide competent evidence

      5   regarding valid defenses. In the meantime, Plaintiff has incurred in excess of
      6
          $15,000 in preparation of the defaults and motion and opposing this motion. If
      7
          the Court has any inclination to set aside the default, paying Plaintiff for its fees
      8

      9   incurred should awarded as a condition of any set aside under these circumstances.
     10
                I declare under the penalty of perjury that the foregoing is true and correct
     11
          under the laws of the State of California and the United States of America.
     12

     13         Executed at Woodland Hills, California this 7th day of May, 2019.
     14

     15
                                                   /s/ Robert M. Yaspan
     16
                                                   Robert M. Yaspan, Declarant
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